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                         IN UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEVADA
                                LAS VEGAS DIVISION

LISA A. BRYANT,                                   Civil Action No. 2:20-cv-00594-JAD-EJY
      Plaintiff,
vs.                                              ORDER ON AGREED MOTION FOR
                                                 EXTENSION OF TIME FOR DEFENDANTS
MADISON MANAGEMENT SERVICES,                     MADISON MANAGEMENT SERVICES ,
LLC AND PORRAS, PLLC,                            LLC AND WALDMAN & PORRAS, PLLC’S
                                                 TO FILE AN ANSWER TO PLAINTIFF’S
      Defendant.                                 COMPLAINT




          On May 5, 2020, Plaintiff, LISA A. BRYANT (“Plaintiff”), and DEFENDANTS

MADISON MANAGEMENT SERVICES, LLC AND WALDMAN & PORRAS, PLLC.

(“Defendants”), filed an Agreed Motion for Extension of Time for Defendnat to file an Answer

to Plaintiff’s Compliant (the “Motion”).




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       After considering the same, it is hereby ORDERED that the Motion (ECF No. 7)

is GRANTED. Defendant MADISON MANAGEMENT SERVICES, LLC’s Answer is due on

or before May 20, 2020 and May 21, 2020.

       Dated: May 6, 2020

                                           ________________________________________
                                           UNITED STATES MAGISTRATE JUDGE




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